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                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON



UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NO. 2:09-00091-02

TONI A. BROWN


                PROBATION REVOCATION AND JUDGMENT ORDER
                      MEMORANDUM OPINION AND ORDER


           On August 29, 2011, the United States of America

appeared by Erik S. Goes, Assistant United States Attorney, and

the defendant, Toni A. Brown, appeared in person and by her

counsel, Christian M. Capece, Assistant Federal Public Defender,

for a hearing on the petition on probation and amendment thereto

submitted by United States Probation Officer Troy A. Lanham, the

defendant having commenced a three-year term of probation in this

action on November 19, 2009, as more fully set forth in the

Judgment Including Sentence Under the Sentencing Reform Act

entered by the court on December 1, 2009.


           The court heard the admissions of the defendant and the

representations and argument of counsel.
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           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of

supervised release in the following respects:            (1) that the

defendant failed to complete a twenty-eight day inpatient drug

detoxification program as directed by the court inasmuch as she

entered the program on April 13, 2011, and was terminated from

the program on April 18, 2011, for receiving and using Ativan and

Flexeril; (2) that the defendant used and possessed controlled

substances as evidenced by a positive urine specimen submitted on

October 27, 2010, for hydrocodone; February 14, 2011 for

morphine, hydrocodone, hydromorphone and cocaine; June 16, 2011,

for morphine; on June 21, 2011, for marijuana; on July 5, 2011,

for cocaine; and on July 18, 2011, for morphine; (3) that the

defendant failed to report for urine screens on January 14;

February 10, 15, 23, 28; March 10, 18, 23, 29; April 9, 12, 14,

27; May 5 and 9; and July 14, 2011; (4) that the defendant failed

to make monthly restitution payments as directed by the court in

that, at the time of the filing of the petition, the defendant

had paid only $515 toward the original balance of $3,262;

however, the court notes that the defendant made an additional

$535 payment on August 11, 2011; and (5) that the defendant

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failed to enter and comply with the intensive outpatient

treatment program at Renaissance as directed by the probation

officer; all as admitted by the defendant on the record of the

hearing and as set forth in the petition on probation.


           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

probation and, further, that it would unduly depreciate the

seriousness of the violations if probation were not revoked, it

is ORDERED that the probation term previously imposed upon the

defendant in this action be, and it hereby is, revoked.


           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal Pro-

cedure, and finding, on the basis of the original offense, the

intervening conduct of the defendant and after considering the

factors set forth in 18 U.S.C. § 3553(a), that the defendant is

in need of correctional treatment which can most effectively be

provided if she is confined, it is accordingly ORDERED that the

defendant be, and she hereby is, committed to the custody of the

United States Bureau of Prisons for imprisonment for a period of

TIME SERVED as of this date, to be followed by a term of three

(3) years of supervised release upon the standard conditions of

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supervised release now in effect in this district by order

entered June 22, 2007, and the further condition that the

defendant not commit another federal, state or local crime

and the special condition that she spend six (6) months in a

community confinement center, preferably Transitions, Inc., and

participate in drug abuse counseling and treatment and mental

health treatment as may be directed by Transitions and/or the

probation officer.     The defendant shall report directly from her

place of incarceration to Transitions, Inc.             Once the six-month

term at Transitions has been completed, the defendant shall

resume making restitution payments at the rate of $50 per month.


           The defendant was remanded to the custody of the United

States Marshal.


           The Clerk is directed to forward copies of this written

opinion and order to the defendant, all counsel of record, the

United States Probation Department, and the United States

Marshal.


                                         DATED:       September 6, 2011


                                         John T. Copenhaver, Jr.
                                         United States District Judge


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